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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff, CRIMINAL NO. 22-CR-40023-SMY

)
)
)
)
VS. )
)
JEFFRY L. McCOMB, )
)
Defendant. )

PLEA AGREEMENT
The attorney for the United States and the attorney for the Defendant have engaged in
discussions and have reached an agreement, pursuant to Federal Rule of Criminal Procedure

11(c)(1)(B). The terms are as follows:

I. Charges, Penalties, and Elements

1. Defendant understands the charges contained in the Indictment and will plead guilty
to Counts | and 2. Defendant understands the essential elements of these counts and the possible

penalties, as set forth below:

Count: ce Shar tat
5-40 years’ imprisonment; | FIRST: That the alleged
Conspiracy To conspiracy as charged existed; and
Distribute -up to $5,000,000 fine;
1 Methamphetamine SECOND: That the defendant
-supervised release of at knowingly and intentionally
21 U.S.C. §§841, least 4 years; and became a member of the
846 conspiracy with an intention to
-$100 special assessment further the conspiracy.

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Count Charge || ~~ Statutory Penalties = | += Essential Elements
FIRST - The defendant knowingly
and intentionally possessed
methamphetamine; and

; ; 5-40 years’ imprisonment;
Possession with y P

Intent to
Distribute SECOND - The defendant
Methamphetamine . . intended to distribute the
-supervised release of at ;
methamphetamine to others; and

-up to $5,000,000 fine;

Nh

21 U.S.C. least 4 years; and

$8841 (a}(1), THIRD - The defendant knew th
841(b)(1)(B), and | -$100 special assessment a ee
2 substance was a controlled

substance.

Defendant committed acts that satisfy each of the essential elements listed above.

2 Title 18, United States Code, Section 3013 requires the Court to assess a $100
“special assessment” per felony count. Defendant understands that the special assessment will be
due immediately at the time of sentencing.

Z. Defendant understands that the United States may recommend, and the Court may
impose, a fine, costs of incarceration, and costs of supervision. The Defendant agrees to participate
in the Inmate Financial Responsibility Program to help satisfy any financial obligations.

4, Defendant shall provide the United States Probation Office with all information
requested to prepare the Presentence Report, including signing all releases. Defendant agrees that
the Probation Office may share any financial information with the United States Attorney’s Office
and Defendant waives any rights Defendant may have under the Right to Financial Privacy Act.
Defendant agrees to make complete financial disclosure by truthfully filling out a financial
statement, at the direction of the United States Attorney’s Office. Defendant also expressly
authorizes the United States Attorney’s Office to obtain Defendant’s credit report on or after the

date of this agreement.

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Il. Advisory Sentencing Guidelines

l. Defendant understands that in determining the sentence, the Court is obligated to
consider the minimum and maximum penalties allowed by law. In determining what sentence to
impose, the Court will also calculate and consider the applicable range under the U.S. Sentencing
Guidelines. The Court will ultimately determine the sentence after hearing the arguments of the
parties and considering the sentencing factors set forth at 18 U.S.C. §3553(a), which include:

(i) the nature and circumstances of the offense and the history and
characteristics of the defendant;

(ii) the need for the sentence imposed to reflect the seriousness of the offense,
promote respect for the law, and provide just punishment for the offense,
afford adequate deterrence to criminal conduct, protect the public from
further crimes of the defendant, and provide the defendant with needed
educational or vocational training, medical care, or other correctional
treatment in the most effective manner;

(iii) the kinds of sentences available;

(iv) the need to avoid unwarranted sentencing disparities among defendants
with similar records who have been found guilty of similar conduct; and

(v) the need to provide restitution to any victim of the offense.

2. Pursuant to Federal Rule of Criminal Procedure 1 1(c)(1)(B), the Court is not bound
by the parties’ calculations of the US Sentencing Guidelines range set forth in this Plea Agreement
or by the parties’ sentencing recommendations. Therefore, the Court may impose a different
sentence than what is described in this Plea Agreement - anywhere between the minimum sentence
(if any) up to the statutory maximum sentence. If the Court imposes a different sentence than what
is described in this Plea Agreement, the parties shall not be permitted to withdraw from the Plea
Agreement and the Defendant will not be permitted to withdraw the guilty plea.

3, The United States and Defendant submit that, after all factors have been considered,

Defendant will have the following advisory United States Sentencing Guideline range:
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Offense Level 29,

Criminal History Category of IV,
Imprisonment range of 121-151 months,
Fine range of $30,000 — $10,000,000.

4, The parties or the United States] submit(s) that the applicable advisory Guideline

calculation is as follows:

Guideline Seis
Gain Description : Pe Devel
Chapter 2 Offense
Conduct
§2D1,1 Base Offense Level — 30
§2D1.1 Specific Offense Characteristic — Firearm Enhancement +2. °
TOTAL OFFENSE LEVEL
S3E1.1 Acceptance of Responsibility (- 3)
OFFENSE LEVEL: 29
5. Defendant and the Government agree that Defendant has voluntarily demonstrated

a recognition and affirmative acceptance of personal responsibility for this criminal conduct, and
the Government will recommend a reduction of 2 Levels. See U.S.S.G. § 3E1.1. The parties also
agree that the Defendant qualifies for an additional 1 Level reduction by timely notifying
authorities of an intention to plead guilty thereby permitting the government to avoid preparing for
trial and permitting the government and the court to allocate their resources efficiently. However,
a reduction for acceptance of responsibility is dependent on Defendant not committing any acts or
taking any position prior to sentencing inconsistent with acceptance of responsibility, including
falsely denying, or frivolously contesting, relevant conduct or committing any acts constituting

obstruction of justice.
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6. The parties submit that it appears that Defendant has amassed at least nine (9)

Criminal History points and that, therefore, the Sentencing Guideline Criminal History

Category is IV.

The parties acknowledge that the Defendant is in the best position to know if his/her
criminal history information is correct and complete. If it is not, the sentencing calculations
reflected in this Plea Agreement may be substantially impacted. Defendant further recognizes that
the final calculation will be determined by the Court after considering the Presentence Report, the
views of the parties, and any evidence submitted. Regardless of the criminal history found by the
Court, the parties will not be able to withdraw from this plea agreement and the Defendant will
not be able to withdraw the guilty plea.

7. The parties reserve the right to argue for, present testimony, or otherwise support
the Probation Office's or the Court's findings as to Offense Level and Criminal History Category,
which may be different from the calculations set forth in this Plea Agreement.

III. Sentencing Recommendations

l. The United States and Defendant will address the sentencing factors set forth in 18
U.S.C. § 3553(a), but agree not to seek a sentence outside of the Guideline range that is ultimately
determined to be applicable by the Court.

2. The government agrees to forego filing an §85 1 enhancement.

IV. Limitation of Plea Agreement & Breach of the Agreement

l, All agreements between the parties are written and no other promises, inducements,
representations, or threats were made to induce Defendant to enter into the Plea Agreement and

Stipulation of Facts. Defendant agrees that this Plea Agreement, the Stipulation of Facts, and any
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supplements, make up the entire agreement between the United States and Defendant and
supersedes any other agreement, oral or written. The terms of this Plea Agreement can be modified
only in writing signed by all of the parties.

2. The United States will file a sealed supplement to this plea agreement, as required
in every case in the Southern District of Illinois. That supplement may, or may not, include
additional terms. If additional terms are included in the supplement, they are incorporated and
made a part of this Plea Agreement.

3. Defendant understands and acknowledges that the Plea Agreement is limited to the
Southern District of Illinois, and cannot bind other federal, state or local‘ prosecuting authorities.
Defendant further understands and acknowledges that the Plea Agreement does not prohibit the
United States, any agency thereof, or any third party from initiating or prosecuting any civil
proceedings directly or indirectly involving Defendant.

4, If the Defendant commits any violation of local, state or federal law (other than a
petty traffic offense), violates any condition of release, violates or fails to perform any term of this
Plea Agreement, provides misleading, incomplete, or untruthful information to the U.S. Probation
Office, or fails to appear for sentencing, the United States, at its option, may ask the Court to be
released from its obligations under this Plea Agreement. The United States may also, in its sole
discretion, proceed with this Plea Agreement and may advocate for any sentencing position
supported by the facts, including but not limited to obstruction of justice and denial of acceptance
of responsibility. No action taken or recommendation made by the Government pursuant to this
paragraph shall be grounds for the Defendant to withdraw the guilty plea.

5. Defendant agrees that in the event the Defendant materially breaches this Plea

Agreement, or Defendant is permitted to withdraw Defendant’s guilty plea(s), that any and all
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statements made by Defendant, whether under oath or not, at the change of plea hearing, and any
evidence derived from such statements, are admissible against Defendant in any prosecution of or
action against Defendant. Defendant knowingly and voluntarily waives any argument under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of
the Federal Rules of Criminal Procedure, or any other federal rule, that the statements or any

evidence derived from any statements should be suppressed or are inadmissible.

V. Defendant’s Waiver of Rights, Consequences of Plea of Guilty, and Appeal Waiver

l. The Defendant has the right to be represented by counsel, and if necessary, to have
the Court appoint counsel at trial and at every other stage of the proceeding. Defendant’s counsel
has explained the waivers of rights, and the consequences of those waivers, that are contained in
this Plea Agreement. Defendant fully understands that, as a result of the guilty plea, no trial will
occur and that the only action remaining to be taken in this case is the imposition of the sentence.

2. By pleading guilty, Defendant fully understands that Defendant is waiving the
following rights: the right to plead not guilty to the charges; the right to be tried by a jury in a
public and speedy trial; the right to file pretrial motions, including motions to suppress or exclude
evidence; the right at such trial to a presumption of innocence; the right to require the United States
to prove the elements of the offenses charged against Defendant beyond a reasonable doubt; the
right not to testify; the right not to present any evidence; the right to be protected from compelled
self-incrimination; the right at trial to confront and cross-examine adverse witnesses, the right to
testify and present evidence; and the right to compel the attendance of witnesses.

3. Defendant understands that by pleading guilty, Defendant is waiving all appellate

issues that might have been available if Defendant had exercised the right to trial.
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4, Defendant is aware that Title 18, Title 28, and other provisions of the United States
Code afford every defendant limited rights to contest a conviction and/or sentence through appeal
or collateral attack. However, in exchange for the recommendations and concessions made by the

United States in this Plea Agreement, Defendant knowingly and voluntarily waives the right to

seek modification of, or contest_any aspect of, the conviction or sentence in any type of

proceeding, including the manner in which the sentence was determined or imposed, that could
be contested under Title 18 or Title 28, or under any other provision of federal law. Defendant’s
waiver of the right to appeal or bring collateral attacks includes contesting: 1) the constitutionality
of the statute(s) to which Defendant is pleading guilty or under which Defendant is sentenced; and
2) that the conduct to which Defendant has admitted_does not fall within the scope of such
statute(s).
5. Exceptions to the waiver of the right to appeal or bring a collateral attack:
a. Ifthe sentence imposed is in excess of the Sentencing Guidelines as determined
by the Court (or any applicable statutory minimum, whichever is greater),
Defendant reserves the right to appeal-the subStantive reasonableness of the
term of imprisonment. Defendant acknowledges that in the event such, an
appeal is taken, the United States reserves the right to fully and completely
defend the sentence imposed, including any and all factual and legal findings
supporting the sentence, even if the sentence imposed is more severe than that
recommended by the United States.
b. The defendant’s waiver of the right to appeal or bring a collateral attack does

not apply to a claim that Defendant received ineffective assistance of counsel.
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c. The Government agrees that it will not assert that Defendant’s waiver of the
right to seek modification of the sentence imposed precludes Defendant from
filing a motion for compassionate release pursuant to 18 U.S.C. 3582(c)(2). See
United States v. Bridgewater, 995 F.3d 591 (7th Cir. 2021). In exchange,
Defendant agrees to the following limitations on Defendant’s right to seek such
relief from the Court:

1. Until the United States Sentencing Commission amends U.S.S.G. §
1BI.13 as it exists on the date of this agreement, Defendant may seek
compassionate release only to the extent and upon the bases allowable
under § 1B1.13 and its Application Notes 1(A) — (C), 2, and 3 defining
extraordinary and compelling circumstances, except that the motion
need not be initiated by the Director of the Bureau of Prisons.

2. After the Sentencing Commission amends § 1B1.13, Defendant may
seek compassionate release only to the extent and upon the bases
allowable by § 1B1.13 and its Application Notes as they exist at the time
Defendant’s motion is filed.

3. Defendant may not assert in a successive motion for compassionate release
any ground which was asserted in a prior motion under § 3582(c)(2) as a
basis for relief where the prior motion was denied on its merits.

The United States reserves the right to oppose any such claim for relief. The parties agree
that the Defendant is waiving all appeal and collateral attack rights, except those specified in this

paragraph of the Plea Agreement.
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6. Except as expressly permitted in the preceding paragraph, Defendant acknowledges
that any other appeal or collateral attack may be considered a material breach of this Plea
Agreement and the United States reserves the right to take any action it deems appropriate,
including having a court declare that Defendant has materially breached this Plea Agreement.

7. Defendant’s waiver of appeal and collateral review rights shall not affect the United
States’ right to appeal Defendant’s sentence pursuant to Title 18, United States Code, Section
3742(b). This is because United States Attorneys lack any right to control appeals by the United
States, through plea agreements or otherwise; that right belongs to the Solicitor General. 28 C.F.R.
§ 0.20(b).

8. Defendant hereby waives all rights, whether asserted directly or by a representative,
to request or receive from any Department or Agency of the United States, or unit of state
government, any records pertaining to the investigation or prosecution of this case, including
without limitation, any records that may be sought under the Freedom of Information Act, Title 5,
United States Code, Section 552, or the Privacy Act of 1974, Title 5, United States Code, Section
552a, or the Illinois Freedom of Information Act (5 ILCS 140) or the Illinois Open Meetings Act
(5 ILCS 120).

9. Defendant waives all claims under the Hyde Amendment, Title 18, United States
Code, Section 3006A, for attorney’s fees and other litigation expenses arising out of the
investigation or prosecution of this matter.

10. Defendant waives all civil claims against the United States or any official working

on behalf of the United States during the investigation or prosecution of this matter.

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VI. Collateral Consequences of Conviction

I. Defendant understands that Defendant is pleading guilty to a felony punishable by
aterm of imprisonment exceeding one year. Therefore, no matter what sentence the Court imposes
(whether probation or any term of imprisonment), Defendant will be forbidden by federal firearms
laws from possessing any type of firearm in Defendant’s lifetime, unless Defendant obtains relief
pursuant to 18 U.S.C. § 925, or other appropriate federal statute.

2. The Defendant recognizes that pleading guilty may have consequences with respect
to the Defendant’s immigration status if the Defendant is not a citizen of the United States. Under
federal law, a broad range of offenses are removable offenses. If the Defendant is not a United
States citizen, conviction may result in the Defendant being removed from the United States,
denied citizenship, and denied admission to the United States in the future. Removal and other
immigration consequences are the subject of a separate proceeding. Defendant understands that no
one, including Defendant’s attorney or the Court, can predict to a certainty the effect the guilty
plea will have on the Defendant’s immigration status. Defendant is nevertheless willing to plead
guilty regardless of any immigration consequences that may occur, even if the consequence is
Defendant’s automatic removal from the United States.

3. Defendant acknowledges that other collateral consequences are possible.

Vil. Defendant’s Acknowledgements

1. Defendant is fully satisfied with the representation received from defense counsel.
Defendant has reviewed the United States’ evidence and has discussed the United States’ case,
possible defenses and defense witnesses with defense counsel. Defendant’s attorney has
completely and satisfactorily explored all areas which Defendant has requested relative to the

United States’ case and possible defenses. Defendant acknowledges having had adequate

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opportunity to discuss the potential consequences of the guilty plea with defense counsel.
Defendant has had all of Defendant’s questions answered by defense counsel. Defendant agrees
that this Plea Agreement is not the result of any threats, duress or coercion. Defendant enters this
guilty plea freely, voluntarily, and knowingly, because Defendant is in fact guilty.

2 By signing this Plea Agreement, Defendant certifies having read it (or that it has
been read to Defendant in a language that Defendant understands), Defendant has discussed the
terms of this Plea Agreement with defense counsel and fully understands its meaning and effect.

VIII.

No additional matters are in dispute.

UNITED STATES OF AMERICA,

RACHELLE AUD CROWE
United States Attorney

Sf Meth CLA SOLD Z

JEFFRY L. McCOMB George a
Se Assistant United States Attorney
Paul sim

Attorney Np efendant

Date d, [29 /o2- Date: wah ee

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